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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
             v.                                 :   No. 1:93-cr-00418-TFH-4
                                                :   Judge Thomas F. Hogan
JOSE NARANJO,                                   :
                                                :
                          Defendant.            :

                          GOVERNMENT’S NOTICE OF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully files this Notice relating to the defendant’s Motion for

Compassionate Release Under 18 U.S.C. § 3582(c)(1)(A)(i) (ECF #635) (“Def. Mot.”), filed by

defendant Jose Naranjo (hereinafter, the “defendant”). The defendant asks the Court to reduce his

sentence to time-served. In further response to the defendant’s motion, the United States now

submits the following:

   1. On June 10, 2019, the defendant filed a pro se Petition for Reduction of Sentence/

       Compassionate Release (ECF # 626).

   2. On February 15, 2020, the defendant filed a supplemental motion, asking the Court to

       reduce his sentence to time-served, arguing that he meets the “extraordinary and

       compelling” requirement of 18 U.S.C § 3582(c)(1)(A)(i) since his wife is chronically

       infirmed and he is her only potential caregiver (ECF # 635).

   3. On April 13, 2020, the government filed its opposition motion, arguing that the defendant’s

       motion was not properly before the Court because 30 days had not passed since the Warden

       of the defendant’s facility received the defendant’s compassionate release request, as

       required by statute (ECF # 642).
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4. On May 1, 2020, the defendant filed his reply motion, arguing that he had submitted his

   compassionate release request well over 30 days before defense counsel filed the supplemental

   motion on his behalf (ECF # 643). In support of his motion, the defendant cited two emails

   dated December 20 and 21, 2019, in which he asks his Unit Manager, Mr. Smith, for

   compassionate release, pursuant to the First Step Act. See Def. Ex. C. Because Defense counsel

   had not yet received these documents at the time of filing its supplemental motion, the

   undersigned was not aware and had not seen these emails before filing its opposition motion.

   See Def. Reply Mot. at 4 fn.1.

5. Upon seeing this evidence for the first time, the undersigned contacted the facility where the

   defendant is currently housed and spoke with the defendant’s case manager, Amy Ruiz. Ms.

   Ruiz confirmed that the facility had received the defendant’s emails which had been provided

   to the Court in Defense Exhibit C. Based on this newly provided evidence by the defendant

   and the information provided by Ms. Ruiz, the government now withdraws its argument that

   defendant failed to exhaust the requisite procedures prior to the filing of his motion and that

   his motion is not properly before the Court.

6. Moreover, the government notes that the defendant is a citizen of Columbia and subject to

   an Immigration Detainer and removal if he is released from prison. The government has

   confirmed with a Bureau of Prison’s (“BOP”) employee that an Immigration Detainer has

   been filed with BOP in reference to the defendant.

7. Because the defendant is subject to an immigration detainer and will likely be removed if

   released, the government does not challenge – under these most unique circumstances – the

   defendant’s argument that he has met the “extraordinary and compelling reasons” standard for

   compassionate release under § 3582(c)(1)(A)(i).




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                                       CONCLUSION

       For the reasons discussed herein, the government does not oppose the defendant’s

motion.

                                                          Respectfully submitted,

                                                          TIMOTHY J. SHEA
                                                          United States Attorney
                                                          D.C. Bar No. 437-437

                                                          T. ANTHONY QUINN
                                                          Deputy Chief, Special Proceedings
                                                          Division
                                                          D.C. Bar No. 415-213

                                                             /s/ Jared English
                                                          JARED ENGLISH
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                                                          D.C. Bar No. 1023-926
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                               CERTIFICATE OF SERVICE

       I HEREBY CE RTI FY that I have caused a copy of the foregoing response to be served
by electronic means, through the Court’s CM/ECF system, upon counsel for defendant, Celia
Goetzl, Esq., Assistant Federal Public Defender, 625 Indiana Avenue, NW, Suite 550, Washington
D.C. 20004, on this 8 day of May, 2019.

                                                  /s/ Jared English
                                           JARED ENGLISH
                                           Assistant United States Attorney




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